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Notice of Voluntary Dismissal . Filed by Conner Slevin. (Molligan, Jessica)


3:23-cv-01404-YY Notice has been electronically mailed to:

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                                                                                                             EXHIBIT B
                                                                                                                1 of 1
